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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


WESTERN BENEFIT SOLUTIONS, LLC,               )           Case No. 1:11-CV-00099-EJL-CWD
an Idaho limited liability company,           )
                                              )           ORDER GRANTING COSTS OF
              Plaintiff,                      )           PRODUCTION TO ADA COUNTY
                                              )
vs.                                           )
                                              )
JOHN GUSTIN, an individual; MORETON           )
INSURANCE OF IDAHO, INC., an Idaho            )
corporation d/b/a MORETON &                   )
COMPANY; ELIZABETH SCHATTIN, an               )
individual; FAST ENTERPRISES, L.L.C., a       )
New York limited liability company,           )
                                              )
              Defendants.                     )
                                              )

       The Court, having issued a Memorandum Decision and Order granting in part and denying

in part Ada County’s Motion to Quash or, In the Alternative, to Modify and Condition Compliance

with the Deposition Subpoena Duces Tecum to Ada County Custodian of Records as such

Motion related to the “costs of production” in the context of Idaho Rule of Civil Procedure

45(b)(2); having reviewed the Stipulation for Payment of Costs of Production duly entered into

by Ada County, a non-party, and Western Benefit Solutions, LLC, Plaintiff, and filed with this

Court; and finding that the Stipulation for Payment of Costs of Production accurately describes
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Ada County’s costs of production in compliance with the Court’s Memorandum Decision and

Order;

         IT IS HEREBY ORDERED that the Stipulation (Dkt. 58) is APPROVED and Western

Benefit Solutions, LLC reimburse Ada County $5,086.20 on or by November 7, 2012.

         IT IS FURTHER ORDERED that such payment by Western Benefit Solutions, LLC

shall constitute payment in full for all costs of production related to the Deposition Subpoena

Duces Tecum served on Ada County employee Robert Perkins on November 8, 2010 and the

Renewed Deposition Subpoena Duces Tecum served on Mr. Perkins on January 5, 2011.

         The Clerk of the Court is directed to close this case.



                                                                     October 15, 2012
